Case No. 1:08-cv-01751-ZLW Document 2 filed 08/18/08 USDC Colorado pgi1of4

FILED

UNITEB stares DISTRICT COURT
DENVER, GOLORADO
IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLORADO AUS 2 B 2008

Civil Action No. 08 - CV - 0 1” 5 I ¢ BS GREGORY C. LANGHAM
nallfuture papers ©...

(The above civil action number must appear o
sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

DR. KAMAL K.K. ROY,
Plaintiff,

Vv.

[NO NAMED DEFENDANT],

Defendant,

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING PLAINTIFF TO CURE DEFICIENCY

Plaintiff has submitted an Application to Proceed Without Prepayment of Fees
and Affidavit, and a Complaint. As part of the court's review pursuant to
D.C.COLO.LCivR 8.1, the court has determined that the submitted documents are
deficient as described in this order. Notwithstanding the deficiencies, the clerk of the
court will be directed to commence a civil action. Plaintiff will be directed to cure the
following if he wishes to pursue his claims. Any papers which the Plaintiff files in
response to this order must include the civil action number on this order.

Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915:

(1) __ is not submitted

(2) X% _— isnoton proper form (must use the court's current form)
(3) _. _ is missing original signature by Plaintiff

(4) _ is missing affidavit

(5) _ affidavit is incomplete

(6) _ affidavit is not notarized or is not properly notarized
Case No. 1:08-cv-01751-ZLW Document 2 filed 08/18/08 USDC Colorado pg 2 of 4

(7) __ names in caption do not match names in caption of complaint, petition or
application

(8) __  Anoriginal and a copy have not been received by the court.
Only an original has been received.

(9) __ other

Complaint or Petition:
(10) is not submitted
(11) X is not on proper form (must use the court’s current form)

(12) __ is missing an original signature by the Plaintiff

(13) _ is incomplete

(14) _  —_ uses et al. instead of listing al! parties in caption

(15) _ ~~ Anoriginal and a copy have not been received by the court. Only an
original has been received.

(16) _ Sufficient copies to serve each defendant/respondent have not been
received by the court.

(17) __ names in caption do not match names in text

(18) _ — other

Accordingly, it is
ORDERED that the clerk of the court commence a civil action in this matter. It is
FURTHER ORDERED that the Plaintiff cure the deficiencies designated above
within thirty (30) days from the date of this order. Any papers which the Plaintiff
files in response to this order must include the civil action number on this order. It is
FURTHER ORDERED that the clerk of the court mail to the Plaintiff, together
with a copy of this order, copies of the following forms: Motion and Affidavit for Leave to
Proceed Pursuant to 28 U.S.C. § 1915; Complaint. It is
FURTHER ORDERED that, if the Plaintiff fails to cure the designated

deficiencies within thirty (30) days from the date of this order, the complaint and the
Case No. 1:08-cv-01751-ZLW Document 2 filed 08/18/08 USDC Colorado pg 3 of 4

action will be dismissed without further notice. The dismissal shall be without prejudice.

DATED at Denver, Colorado, this _ \ dayof__- N , 2008.

BY THE COURT:

_—

CRAIG B. SHAFFER
United States Magistrate Judge

Case No. 1:08-cv-01751-ZLW Document 2 filed 08/18/08 USDC Colorado pg 4of4

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

Civil Action No. *Q)8 CV - () 1 7 1

Kamal Roy
PO Box 1173
New York, NY 12983

| hereby certify that | have mailed a copy of the ORDER and two copies of the
Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915 and
Complaint forms to the above-named individuals on___£ f f s of

GREGORY C. LANGHAM, CLERK

By: !
Deputy Clerk

